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         ORDERED in the Southern District of Florida on October 14, 2024.




                                                      Corali Lopez-Castro, Judge
                                                      United States Bankruptcy Court
_____________________________________________________________________________

                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION
                                        www.flsb.uscourts.gov

         In re:                                              Chapter 11 Case

         MBMG HOLDING, LLC,                                  Case No. 24-20576-CLC

                  Debtor.
                                                      /
         In re:                                              Chapter 11 Case

         CARE CENTER MEDICAL GROUP, LLC,                     Case No. 24-20577

                  Debtor.
                                                      /
         In re:                                              Chapter 11 Case

         CARE CENTER NETWORK, LLC,                           Case No. 24-20580

                  Debtor.
                                                      /
         In re:                                              Chapter 11 Case

         CCMC PHYSICIAN HOLDINGS, INC.,                      Case No. 24-20578

                  Debtor.
                                                      /
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In re:                                             Chapter 11 Case

CLINICAL CARE PHARMACY, LLC,                       Case No. 24-20579

         Debtor.
                                             /
In re:                                             Chapter 11 Case

FLORIDA FAMILY PRIMARY CARE CENTER,                Case No. 24-20581
LLC,

         Debtor.
                                             /
In re:                                             Chapter 11 Case

FLORIDA FAMILY PRIMARY CARE CENTER                 Case No. 24-20582
OF PASCO, LLC,

         Debtor.
                                             /
In re:                                             Chapter 11 Case

FLORIDA FAMILY PRIMARY CARE CENTERS                Case No. 24-20583
OF ORLANDO, LLC,

         Debtor.
                                             /
In re:                                             Chapter 11 Case

FLORIDA FAMILY PRIMARY CARE CENTERS                Case No. 24-20584
OF PINELLAS, LLC,

         Debtor.
                                             /
In re:                                             Chapter 11 Case

FLORIDA FAMILY PRIMARY CARE CENTERS                Case No. 24-20585
OF TAMPA, LLC,

         Debtor.
                                             /




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In re:                                                                   Chapter 11 Case

MB MEDICAL OPERATIONS, LLC,                                              Case No. 24-20586

          Debtor.
                                                                /
In re:                                                                   Chapter 11 Case

MB MEDICAL TRANSPORT, LLC,                                               Case No. 24-20587

          Debtor.
                                                                /
In re:                                                                   Chapter 11 Case

MBMG INTERMEDIATE HOLDING, LLC,                                          Case No. 24-20588

          Debtor.
                                                                /
In re:                                                                   Chapter 11 Case

MIAMI BEACH MEDICAL CENTERS, INC.,                                       Case No. 24-20589

          Debtor.
                                                                /
In re:                                                                   Chapter 11 Case

MIAMI BEACH MEDICAL CONSULTANTS, LLC,                                    Case No. 24-20590

          Debtor.
                                                                /
In re:                                                                   Chapter 11 Case

MIAMI MEDICAL & WELLNESS CENTER, LLC,                                    Case No. 24-20591

          Debtor.
                                                                /

                              ORDER GRANTING DEBTORS’ EX PARTE
                              MOTION FOR JOINT ADMINISTRATION

          THIS MATTER having come before the Court, without a hearing, upon the Debtors’ Ex

Parte Motion for Joint Administration [ECF No. 6] (the “Motion”)1 filed by the above-captioned


1
    All capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Motion.
                                                           3
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debtors and debtors-in-possession (collectively, the “Debtors”),2 pursuant to Bankruptcy Rule

1015 and Local Rule 1015-1(A)(2)(a). The Motion requests entry of an order authorizing the

joint administration of the bankruptcy cases of the Debtors. The Court finds that: (i) it has

jurisdiction over the matters raised in the Motion pursuant to 28 U.S.C. §§ 157 and 1334; (ii) this

is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A); (iii) it may enter a final order

consistent with Article III of the United States Constitution; (iv) venue is proper before this

Court pursuant to 28 U.S.C. §§ 1408 and 1409; (v) notice of the Motion was appropriate under

the circumstances and no other or further notice need be provided; (vi) the relief requested in the

Motion is in the best interests of the Debtors, their estates, their creditors, and other parties-in-

interest; (vii) pursuant to Local Rule 1015-1, the Court is authorized to grant the Motion without

a hearing at its discretion; and (viii) upon review of the record before the Court, including the

legal and factual bases set forth in the Motion and the First Day Declaration, all of which are

incorporated herein, the Court determines that good and sufficient cause exists to grant the relief

requested in the Motion. Accordingly, it is

        ORDERED that:

        1.       The Motion is GRANTED.

        2.       The above-captioned bankruptcy cases are consolidated for procedural purposes

only and shall be jointly administered. The case of MBMG Holding, LLC, Case No. 24-20576-

CLC is designated as the “lead case.”


2
    The address of the Debtors is 7500 S.W. 8th Street, Ste. 400, Miami, Florida 33144. The last four digits of the
    Debtors’ federal tax identification numbers are: (i) Care Center Medical Group, LLC (9052); (ii) Care Center
    Network, LLC (5784); (iii) CCMC Physician Holdings, Inc. (4532); (iv) Clinical Care Pharmacy, LLC (2103);
    (v) Florida Family Primary Care Center, LLC (5005); (vi) Florida Family Primary Care Center of Pasco, LLC
    (8570); (vii) Florida Family Primary Care Centers of Orlando, LLC (3086); (viii) Florida Family Primary Care
    Centers of Pinellas, LLC (7075); (ix) Florida Family Primary Care Centers of Tampa, LLC (0631); (x) MB
    Medical Operations, LLC (8450); (xi) MB Medical Transport, LLC (3476); (xii) MBMG Holding, LLC (3880);
    (xiii) MBMG Intermediate Holding, LLC (9320); (xiv) Miami Beach Medical Centers, Inc. (3933); (xv) Miami
    Beach Medical Consultants, LLC (2737); and (xvi) Miami Medical & Wellness Center, LLC (2474).
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          3.     All of the above-captioned cases are assigned to the Honorable Corali Lopez-

Castro.

          4.     A single case docket and court file will be maintained hereafter under the “lead

case” number.

          5.     Hearings in these jointly administered cases shall be joint hearings unless

otherwise specified.

          6.     The style of these jointly administered cases shall be in the style set forth below:

                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION
                                    www.flsb.uscourts.gov

In re:
                                                    Chapter 11 Cases
MBMG HOLDING, LLC, et al.,
                                                    Case No. 24-20576-CLC
          Debtors.
                                                    (Jointly Administered)
                                                /

          7.     Pleadings filed in any case other than the lead case shall be captioned under the

lead case name and case number followed by the words “(Jointly Administered)” and beneath

that caption, the case names and numbers for the case(s) in which the document is being filed.

Claims filed shall indicate only the case name and number of the case in which the claim is

asserted. Separate claims registers shall be maintained for each case. Ballots shall be styled and

filed only in the case name and number of the member case for which the plan being voted on

was filed. Schedules and the statement of financial affairs shall be styled and filed in the case

name and number of the member case.

          8.     Parties may request joint hearings on matters pending in any of the jointly

administered cases.


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       9.      A docket entry shall be made in each of the Debtors’ cases substantially as

follows:

       An order has been entered in this case directing joint administration of the
       following entities for procedural purposes only: (i) Care Center Medical Group,
       LLC (9052); (ii) Care Center Network, LLC (5784); (iii) CCMC Physician
       Holdings, Inc. (4532); (iv) Clinical Care Pharmacy, LLC (2103); (v) Florida
       Family Primary Care Center, LLC (5005); (vi) Florida Family Primary Care
       Center of Pasco, LLC (8570); (vii) Florida Family Primary Care Centers of
       Orlando, LLC (3086); (viii) Florida Family Primary Care Centers of Pinellas,
       LLC (7075); (ix) Florida Family Primary Care Centers of Tampa, LLC (0631);
       (x) MB Medical Operations, LLC (8450); (xi) MB Medical Transport, LLC
       (3476); (xii) MBMG Holding, LLC (3880); (xiii) MBMG Intermediate Holding,
       LLC (9320); (xiv) Miami Beach Medical Centers, Inc. (3933); (xv) Miami Beach
       Medical Consultants, LLC (2737); and (xvi) Miami Medical & Wellness Center,
       LLC (2474). The docket of MBMG Holding, LLC (Case No. 24-20576-CLC)
       should be consulted for all matters affecting this case.

       10.     The Debtors shall maintain, and the Clerk of the United States Bankruptcy Court

for the Southern District of Florida shall keep, one consolidated docket, one file, and one

consolidated service list for these Chapter 11 Cases.

       11.     Nothing contained in the Motion, or this Order shall be deemed or construed as

directing or otherwise effecting a substantive consolidation of these Chapter 11 Cases and this

Order shall be without prejudice to the rights of the Debtors to seek entry of an order

substantively consolidating their respective cases.

       12.     The Debtors shall not commingle assets or liabilities unless and until it is

determined, after notice and hearing, that these cases involve the same debtor or that another

ground exists to order substantive consolidation of these cases.

       13.     The Debtors are authorized and empowered to take all reasonable actions

necessary to effectuate the relief granted in this Order in accordance with the Motion.




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       14.     This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation, interpretation, and enforcement of this Order.

                                            #   #    #

Submitted by:
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(Attorney Singerman is directed to serve this order upon all non-registered users who have yet to
appear electronically in this case and file a conforming certificate of service.)




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